                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
____________________________________
UZMA MALIK                             :
1080 Sheffield Road                    :
Shavertown, PA 18708                   :    CIVIL ACTION
                                       :
              Plaintiff,               :    DOCKET NO.: 19-CV-01547
       v.                              :
                                       :
WYOMING VALLEY MEDICAL                 :
CENTER, P.C.                           :    JURY TRIAL DEMANDED
1000 E. Mountain Boulevard             :
Wilkes-Barre, PA 18711                 :
       and                             :
GEISINGER HEALTH SYSTEM                :
100 N. Academy Avenue                  :
Danville, PA 18702                     :
       and                             :
ANAND MAHADEVAN                        :
1000 E. Mountain Boulevard             :
Wilkes-Barre, PA 18711                 :
       and                             :
MICHAEL GREENBERG                      :
100 N. Academy Avenue                  :
Danville, PA 18702                     :
                                       :
              Defendants.              :
____________________________________:

                             THIRD AMENDED COMPLAINT

       Uzma Malik (hereinafter referred to as “Plaintiff,” unless indicated otherwise), by and

through her undersigned counsel, hereby avers as follows:

                                     INTRODUCTION

       1.     This action has been initiated by Plaintiff against Wyoming Valley Medical

Center, P.C., Geisinger Health System, and individual defendants set forth in the caption

(hereinafter collectively referred to as “Defendants”) for violations of the Americans with

Disabilities Act, as amended ("ADA" - 42 USC §§ 12101 et. seq.), the Family and Medical

Leave Act ("FMLA - 29 U.S.C. §2601 et. seq.), and other applicable state and federal law(s) as
outlined herein. Plaintiff asserts, inter alia, that she was discriminated against, retaliated against,

and unlawfully terminated by Defendants from her employment as a physician. As a direct

consequence of Defendants’ unlawful actions, Plaintiff seeks damages as set forth herein.

                                  JURISDICTION AND VENUE

        2.       This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§1331 and 1343(a)(4) because it arises under laws of the United States and seeks

redress for violations of federal laws.

        3.       This Court may properly maintain personal jurisdiction over Defendants because

Defendants’ contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction in order to comply with traditional notions of fair play and substantial justice,

satisfying the standard set forth by the United States Supreme Court in International Shoe Co. v.

Washington, 326 U.S. 310 (1945) and its progeny.

        4.       Pursuant to 28 U.S.C. §1391(b)(1) and (b)(2), venue is properly laid in this

district because all of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.

        5.       Plaintiff filed 4 Charges (the latter 3 ostensibly treated as amendments) of

discrimination and retaliation with the Equal Employment Opportunity Commission ("EEOC")

and also dual-filed said charge with the Pennsylvania Human Relations Commission ("PHRC").

Plaintiff has properly exhausted her federal administrative proceedings, as to any and all claims

legally requiring such administrative exhaustion, and she has timely filed a lawsuit within ninety

(90) days of receiving a consolidated right-to-sue letter from the EEOC.




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                                             PARTIES

        6.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.     Plaintiff is an adult individual, with an address as set forth in the caption.

        8.     Wyoming Valley Medical Center, P.C. (“Defendant Center” where referred to

individually) is a hospital in Luzerne County, Pennsylvania. Its facilities and departments offer

emergency, non-emergency, diagnostic, and specialized medical care.

        9.     Geisinger Health System (“Defendant GHS” where referred to individually) is a

non-profit, physician-led, integrated health system serving over 40 counties in Pennsylvania

operating several hospitals and other medical programs throughout the Commonwealth.

        10.    Michael Greenberg (“Defendant Greenberg”) is a medical doctor focusing in

Radiation Oncology who was at all times relevant to the allegations in this lawsuit Defendant

Center and Defendant GHS’s Director (a high-level manager).

        11.    Anand Mahadevan (“Defendant Mahadevan”) was at all times relevant to the

allegations in this lawsuit Defendant Center and Defendant GHS’s Chairman of Plaintiff’s

department (a high-level manager).

        12.    Defendant GHS owns and operates Defendant Center, as well as all other

programs and hospitals in its purview. Defendant GHS sets directives, controls activities within

each hospital (such as Defendant Center), sets goals, oversees financial aspects of the business,

and develops uniform rules, regulations and policies within Defendant Center and its other

operations. Defendants are a single enterprise, joint employer, or single employer of Plaintiff for

the purposes of the instant action, as Defendants share resources, have overlapping management,

and operate as a unified operation.




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         13.   By way of additional specificity, Plaintiff at all times considered herself to be an

employee of both Defendant Center and Defendant GHS. While Plaintiff directly worked at

Defendant Center and supervisory staff therein, it was Defendant GHS that: (1) directly gave her

a written offer of employment; (2) provided her policies and an agreement to be employed in

conjunction with her hire; (3) jointly oversaw all aspects of her employment; and (4) provided

Plaintiff with termination correspondence, a decision overseen and participated in by Defendant

GHS. For these and previously stated reasons, both entities were Plaintiff’s “employer.”

         14.   At all times relevant herein, Defendants acted by and through their agents,

servants and/or employees, each of whom acted at all times relevant herein in the course and

scope of their employment with and for Defendants.

                                 FACTUAL BACKGROUND

         15.   The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

         16.   Plaintiff is a 56-year-old female. She is a very well-accomplished medical doctor.

In particular, Plaintiff is double board certified (in the United States and Canada) and a

fellowship-trained cancer physician specializing in Radiation Oncology and treatment of cancers

affecting the prostate, breast and brain (among other aspects of related testing, treatment, and

care).

         17.   Plaintiff was hired by Defendants on or about January 4, 2006; and in total,

Plaintiff was employed with Defendants for approximately 13.5 years (until termination, as

discussed infra).

         18.   Plaintiff was considered to work within Defendants’ Cancer Institute, focusing in

Radiation Oncology.




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        19.        At all times relevant to allegations in this lawsuit and through termination,

Plaintiff and other similar physicians were overseen by Dr. Anand Mahadevan (“Defendant

Mahadevan”). Defendant Mahadevan was and upon information and belief remains Defendants’

Chairman of Radiation Oncology.

        20.        Plaintiff has a long history of suffering from disabilities, but none of which

prevented Plaintiff from performing her work, duties or other requirements as a physician

(inclusive of being able to provide wonderful patient care). Plaintiff has been medically treated

for, inter alia:

                   (A) Extensive Tarlov Cyst problems, cysts in the base of Plaintiff’s spine,
                       requiring monitoring, medical treatment, and surgery;

                   (B) Lumbar disc disease with annular fissures;

                   (C) Fibromyalgia; and

                   (D) Other back and limb problems relating to neuropathy, radiculopathy,
                       radicular pain, and complications from various back, spinal, and lumbar
                       problems (such as ongoing discomfort, severe pain, lack of sleep at times,
                       genitourinary issues, and other negative impacts on Plaintiff’s muscular
                       system).1

        21.        Plaintiff has been treated for these permanent medical conditions (which are

disabilities) for over 10 years; and they at times, limit Plaintiff from a wide array of normal life

activities.




1
 Plaintiff’s medical history is substantial, and this summary is only intended to identify the general nature of
Plaintiff’s health problems. It is not to identify every form of treatment, diagnosis, or complication which will be
better reflected in Plaintiff’s medical records.



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                         [1] Plaintiff seeks relief in this lawsuit for her discriminatory and
                             retaliatory removal from the position of Director, Radiation
                             Oncology effective early 2018 and non-hire as Regional Director
                             in mid-2018.

        22.     Plaintiff took an approved medical leave of absence from in or about early

February 2018 through on or about May 6, 2018 (hereinafter the “February-May 2018 FMLA

leave”). Plaintiff physically resumed working for Defendants on or about May 7, 2019 following

her aforesaid February-May 2018 FMLA leave (some of which was comprised of extended

medical leave).

        23.     The February-May 2018 was time Plaintiff took off from work, which was

protected under federal law (the Family and Medical Leave Act – “FMLA”), in addition to some

extended medical leave (approved by Defendants’ management). It was for serious health

conditions, and Plaintiff was qualified for protections under the FMLA. Plaintiff’s time off from

work under the FMLA was simultaneously and conterminously protected under the Americans

with Disabilities Act (“ADA”) as a medical accommodation.2

        24.     In the approximate 6 months leading up to Plaintiff’s February-May 2018 FMLA

leave, Plaintiff discussed with Defendants’ management: (1) her specific health conditions; (2)

anticipated medical leave (FMLA and ADA protected, as aforesaid); and (3) her anticipated

treatment / therapy regimen. This reasonably expected discussion was for coordination and

planning within Plaintiff’s department.

        25.     After Plaintiff had discussed her anticipated FMLA leave and medical

accommodation needs for many months, Defendants announced (on or about January 25, 2018)

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  See e.g. Bernhard v. Brown & Brown of Lehigh Valley, Inc., 720 F.Supp.2d 694 (E.D. PA 2010)(time off from
work, even up to 3 months can constitute a reasonable accommodation under the ADA); Conoshenti v. Public Serv.
Elec. & Gas Co., 364 F.3d 135 (3d Cir. 2004)(federal courts have outlined that medical leaves are a form of
reasonable accommodation under the ADA); Shannon v. City of Philadelphia, WL 1065210 (E.D. Pa. 1999)(time
off from work for an extended period of time is a reasonable accommodation under the ADA).



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that Plaintiff’s then position of Director, Radiation Oncology, was being eliminated through a

restructuring effective January 31, 2018. This announcement was approximately a week before

Defendants knew Plaintiff’s February-May 2018 FMLA leave was to commence.

           26.   The sole rationale given to Plaintiff for her position removal as “Director” was

job elimination and restructuring. Her removal as Director was not performance or misconduct

related.

           27.   During and towards the end of Plaintiff’s February-May FMLA leave, Plaintiff

came to learn that Defendants were seeking to fill virtually the identical job Plaintiff had just

been removed from under the pretext of job elimination or restructuring. Defendants slightly

changed the job title of Plaintiff’s prior primary job, and they advertised to hire a Northeast

Regional Radiation Oncology Director (as opposed to the title of “Director”).

           28.   By May 2018, Plaintiff specifically applied for the job position of Northeast

Regional Radiation Oncology Director, which aligned with plaintiff’s prior duties as a Director.

Plaintiff was however not given meaningful consideration or hired for the job position.

           29.   Instead, Defendant hired Dr. Michael Greenberg (“Defendant Greenberg”) for the

position of Northeast Regional Radiation Oncology Director, effective July 2018. Dr. Greenberg

had been previously used to fill in for Plaintiff during her February-May 2018 FMLA leave, and

hence Plaintiff was denied what was transparently her prior job as of July 2018.

           30.   As a result of Plaintiff’s feigned job elimination, Plaintiff was employed upon

return from the February-May 2018 FMLA leave as an Associate in Radiation Oncology for

Defendants. This reduced position was: (1) a demotion; (2) lesser-paying; (3) non-supervisory

and less prestigious; and (4) lessened Plaintiff’s overall earning power and negatively impacted




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her career internally and externally. Plaintiff held this reduced (“Associate”) position through

termination (as outlined below).

       31.     Plaintiff’s removal / demotion and non-hire in the aforesaid “Director” positions

were solely for discriminatory and retaliatory reasons, as:

               (A) Plaintiff was removed from her job under the pretext of elimination /
                   restructuring because of her discussions about her health, right after
                   discussing medical accommodation needs, and imminently before her
                   previously discussed FMLA leave was to commence;

               (B) Plaintiff was selectively chosen as an individual for restructuring or job
                   elimination as a pretext, as it was not a hospital-wide process or
                   restructuring;

               (C) Plaintiff was not hired for the substantially same role she previously
                   performed. The role was virtually identical in all respects with the exception
                   that it anticipated the potential need for helping to establish an Oncology
                   program at a different hospital acquired by Defendants, something Plaintiff
                   could have easily done had the need ever arisen. However, functionally
                   Defendant Greenberg performed Plaintiff’s prior job position of Director; and

               (D) Plaintiff was more qualified than her replacement (Defendant Greenberg) for
                   the positions (pre- and post-medical leave) denied to her for discriminatory
                   and/or retaliatory reasons (as she previously performed the very role in the
                   same hospital for a very long time).

                       [2] Plaintiff seeks relief in this lawsuit for her non-accommodations in
                           conjunction with her return from her February-May 2018 FMLA
                           leave.

       32.     In conjunction with Plaintiff’s return to work from her February-May 2018

FMLA leave, Plaintiff sought several medical accommodations. They included but were not

limited to: (a) taking a little longer of a leave than permitted under the FMLA (a well-established

form of medical accommodation); or (b) starting with a slightly graduated work schedule for a

short time and working up to a full schedule; or (c) being given some flexibility in hourly

scheduling, the ability to come in later or leave earlier on a limited and temporary basis.




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       33.     Defendants did not engage in an interactive dialogue with Plaintiff about any

accommodations she attempted to discuss or request upon resuming her role as of May 2018.

Instead, Plaintiff’s continued employment was threatened and Plaintiff was required to

commence working on a full-time, unrestricted basis.

       34.     Concerned about jeopardizing her employment in general, Plaintiff returned to

work following her February-May 2019 FMLA leave without any medical restrictions, as

Defendants – without good faith or interactive dialogue – blanketly denied very reasonable

accommodations Plaintiff sought. Plaintiff performed her job well upon return, but did so in

unnecessary discomfort and pain which could have been obviated with any semblance of good

faith on the part of Defendants.

                       [3] Plaintiff seeks relief in this lawsuit for a hostile work environment
                           she experienced from May of 2018 through July 23, 2019 (her date
                           of termination).

       35.     Upon returning to work in May of 2018, Plaintiff was subjected to a very hostile

work environment through termination. Such discrete and non-discrete acts comprising the

hostile work environment (over roughly a 14-month timeframe) included but were not limited to:

               (A) Repetitive unwarranted admonishment, such as verbal warnings, written
                   counseling, and alleged performance improvement concerns being
                   documented. All of this kept Plaintiff under constant concern of pretextual
                   termination;

               (B) Continual and pervasive scrutiny, such as consistent questioning of Plaintiff,
                   oversight over her, and discussions about or concerning Plaintiff regarding
                   matters not addressed with Plaintiff’s peers;

               (C) Continual and pervasive ostracism in that Plaintiff would be excluded by
                   Defendants’ management from discussions, meetings, or access to
                   information she previously was privy to within Defendants;

               (D) Continual and pervasive derogatory treatment, abusive demeanor, and being
                   degraded by management in discussions;




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                 (E) Continual and disparate negative treatment with respect to fair use of
                     company policies, time off from work, workplace privileges, and other forms
                     of disparate treatment;

                 (F) Continual and disparate negative references about and concerning her health,
                     and in particular, forcing her to take time off from work for negative
                     expressed perceptions of medical treatment and/or disabilities (primarily
                     related to a referral for medical evaluation, discussed infra);

                 (G) Many other daily, weekly, and monthly forms of negative treatment; and

                 (H) Fellow staff members confirmed to management that Plaintiff was being
                     bullied / harassed in the workplace.

        36.      The foregoing actions were pervasive, severe, and occurred weekly throughout

Plaintiff’s employment from May of 2018 through July of 2019. And any reasonable person

would have subjectively and objectively believed they were in a discriminatory and retaliatory

hostile work environment (as the environment was premised upon Plaintiff’s health, requested

accommodations (a form of protected activity), and concerns of discriminatory treatment she

expressed (also a form of protected activity)).3

        37.      Defendants’ above-referenced blanket denials of accommodations requested by

Plaintiff, including scheduling adjustments, as well as the aforesaid hostile actions taken against

Plaintiff, which occurred throughout the remainder of Plaintiff’s employment with Defendants,

were at least in part for purposes of discouraging Plaintiff from utilizing and/or requesting

additional leave under the FMLA. As intended by Defendants, Plaintiff ultimately was, at times,

actually discouraged from freely taking and/or requesting additional FMLA leave as a result of

the chilling effects of the aforesaid actions by Defendants, including Defendant Greenberg.




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 This summary of actions comprising the hostile work environment is not intended to be exclusive. And further, all
actions referenced or explained in this Complaint even outside of this particular section also comprised the overall
hostile work environment.



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                       [4] Plaintiff seeks relief in this lawsuit for Defendants’ failure to
                           remedy her hostile work environment and many other adverse
                           actions she was experiencing despite her complaints to all levels of
                           Defendants’ management.

       38.     Plaintiff engaged in many protected activities by complaining of discriminatory

and retaliatory treatment from May of 2018 through July of 2019. Examples are as follows:

               (A) Plaintiff expressed many verbal complaints of discriminatory and
                   retaliatory treatment to Defendants’ management and human resources
                   personnel from May of 2018 through July of 2019.

               (B) Plaintiff filed a Charge with the Equal Employment Opportunity
                   Commission (“EEOC”), a federal agency on or about February 7, 2019. And
                   this Charge was dual filed with the Pennsylvania Human Relations
                   Commission (“PHRC”). Therein, Plaintiff expressed concerns of
                   discrimination and retaliation.

               (C) Plaintiff submitted, through her representative, a detailed letter on or about
                   April 1, 2019 to Defendants’ Executive Vice President (Amy Bradford) and
                   Chief Legal Officer (David Felicio) outlining concerns of a pattern of
                   discrimination and retaliation she was experiencing.

               (D) Plaintiff filed a Charge with the Equal Employment Opportunity
                   Commission (“EEOC”), a federal agency on or about May 20, 2019. And
                   this Charge was dual filed with the Pennsylvania Human Relations
                   Commission (“PHRC”). Therein, Plaintiff expressed concerns of
                   discrimination and retaliation.

               (E)   Plaintiff submitted a 3-page letter to Defendants’ President and CEO on or
                     about July 6, 2019 (as well as to Executive Leadership Committee
                     Members). Therein, Plaintiff outlined significant concerns of discrimination
                     and retaliation that were being unremedied, as Plaintiff was told all of her
                     concerns were in the hands of legal due to her engaging in outside legal
                     complaints (despite that neither internal human resources or legal were
                     undertaking any remedial actions).

       39.     Plaintiff had made numerous complaints of discrimination and retaliation while in

the employ of Defendants in her last approximate year of employment. And Defendants’

justification for its management undertaking virtually no action (when questioned by Plaintiff) is

that things were in the hands of legal. But a business is not alleviated of its legal obligations to




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correct a hostile work environment or other adverse actions being taken against its employees

just because she may have simultaneously exercised external legal rights.

       40.     And as explained more infra, Plaintiff was terminated pretextually within weeks

of her most recent verbal and written complaints of discriminatory and retaliatory treatment

within Defendants.

                       [5] Plaintiff seeks relief in this lawsuit for Defendants’ discriminatory
                           and retaliatory referral of her to the Commonwealth of
                           Pennsylvania, Department of State (and multiple divisions
                           therein).

       41.     In early 2019, Plaintiff learned that she was referred by Defendants’ management,

and upon information and belief Defendant Greenberg in particular, to the Commonwealth of

Pennsylvania, Department of State, Bureau of Professional and Occupational Affairs for

potential discipline and/or license suspension (hereinafter “the referral”).

       42.     In particular, Plaintiff was falsely alleged by Defendants, by and through its

management (particularly Defendant Greenberg), to have a drug addiction and/or other medical

problems which may affect her licensure.

       43.     Plaintiff, who had an exceptionally illustrious career and no prior licensure

disciplinary concerns, was objectively very distressed about false allegations levied by

Defendants which would impugn her reputation, limit her career mobility, and of course possibly

result in some potential harm to her license.

       44.     Because of the referral which was transparently discriminatory and retaliatory,

and directly related to Plaintiff’s medical history and medical disclosures to Defendants, it

became necessary that Plaintiff be medically evaluated. As described below, this caused Plaintiff

to miss approximately 5 weeks from work.




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           45.     By letter dated February 19, 2019, Plaintiff was presented with a medical review

from a physician (and independent medical practice) who treated her for nearly a year and

evaluated her identifying that: Plaintiff does “not demonstrate any form of mental or physical

impairment” and takes only “prescribed medications on an as-needed basis” for multiple

disabilities and a prior surgery. See 2/19/19 Medical Confirmation, attached hereto as “Exhibit

A.” (Emphasis added).

           46.     By letter dated March 14, 2019, a 2nd separate medical practice presented Plaintiff

with a medical review from a physician who treated Plaintiff for almost 2 years identifying that:

Plaintiff had numerous health conditions, underwent surgery, takes medications, “has been

compliant,” has “no adverse outcomes or evidence of impairment,” and she “has always

maintained the highest standards of professionalism, and [has] personally witnessed her go above

and beyond in care for her patients.” See 3/14/19 Medical Confirmation, attached hereto as

“Exhibit B.” (Emphasis added).

           47.     On or about April 7, 2019, Plaintiff was required to submit to a state-mandated

evaluation based upon the referral. Plaintiff did so at the Richard J. Caron Foundation in

Wernersville, Pennsylvania, as directed by the State. This medical evaluation was in-patient from

on or about April 7, 2019 through on or about April 12, 2019 (“the April 2019 evaluation”).

           48.     A report was generated from the April 2019 evaluation. The report 4 identified

that:

                    (A) Plaintiff has “no previous inpatient substance use or psychiatric history;”

                    (B) It is “currently unclear” why Plaintiff “was reported to the Pennsylvania
                        Medical Board” by Defendants;



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    The “Evaluation Summary” was prepared and dated April 12, 2019 by the Caron Foundation.



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                (C) The Caron Foundation contacted Defendants and was told by its “HR
                    Department” that only “Dr. Greenberg” complained that Plaintiff “was
                    disheveled and disoriented;”

                (D) The Caron Foundation interviewed staff members of Defendants who
                    disputed anything allegedly underlying the referral by Dr. Greenberg. In
                    particular, staff identified Plaintiff “never appeared to be” impaired, there
                    were “no patient complaints,” no complaints by coworkers, and Plaintiff was
                    a competent clinician, good doctor, and her “patient satisfaction scores were
                    quite high;”

                (E) The Caron Foundation interviewed Dr. Ronjon, a medical oncologist who
                    “works with [Plaintiff] daily.” Dr. Ronjon confirmed Plaintiff has “no
                    impairment,” they consistently overlap in patients and none ever
                    complained, and she has good patient relationships;

                (F) The Caron Foundation interviewed Defendants’ Dosimetrist who worked
                    with Plaintiff daily. Per the Summary: “She works closely with Dr. Malik.”
                    “She indicated she feels as though [Plaintiff] is one of the highest
                    performers in the department,” and this Dosimetrist confirmed Plaintiff
                    never had any complaints, had no signs of impairment and her “performance
                    had been excellent;”

                (G) The Caron Foundation interviewed Wendi Newell, a radiation oncology
                    nurse working with Plaintiff regularly. Newell confirmed she “never had
                    concerns about [Plaintiff’s] functioning and never once “observe[d] signs of
                    impairment in the workplace;” and

                (H) Pending a final evaluation, “[w]e support [Plaintiff’s] return to medical
                    practice.

       49.     Pursuant to the Caron Foundation’s evaluation requirements, it does not permit

anyone admitted to utilize prescribed “scheduled narcotics.” This policy is reflected on page 2 of

the 4/12/19 Caron Foundation Evaluation Summary. As a result, Plaintiff was temporarily

transitioned from all of her medications to suboxone which created adverse consequences to

Plaintiff medically during her evaluation (and resulting in a required final evaluation for release

to work).

       50.     On or about May 7, 2019, Plaintiff submitted to another evaluation required as a

result of the referral, this time being evaluated by Christopher Royer of Comprehensive



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Neuropsychology Services. The 7-page report, prepared from this evaluation identified inter

alia:

               (A) While at the Caron Foundation, “Plaintiff had “no reported issue with
                   addiction,” but had “difficulties” associated with being “transferred to
                   Suboxine during the stay;”

               (B) Plaintiff “was having side effects from the Suboxone including feeling
                   somewhat foggy” . . . and “eventually had a conjunctival hemorrhage and
                   pressure behind the eyes;”

               (C) Plaintiff has no psychiatric history, and is in otherwise good health;

               (D) Plaintiff was administered a “Clinical Interview,” and 16 other tests during
                   her evaluation process;

               (E) Plaintiff has “no signs” of any “brain dysfunction or any neurocognitive
                   disorder,” and Plaintiff had no cognitive concerns that would prevent her
                   from practicing medicine. And Plaintiff was recommended for a return to
                   work.

        51.    On May 17, 2019, Plaintiff released via correspondence from the Commonwealth

of Pennsylvania to resume practicing medicine, as a result of satisfactorily completing all

evaluations. Plaintiff returned to work shortly after the malicious referral and release to work in

May of 2019.

        52.    In total, 2 separate medical practices prior to April 2019 memorialized there was

no medical concern or impairment concern with Plaintiff practicing medicine. In April, 2019,

the Caron Foundation found no evidence of impairment and referred Plaintiff to a final

evaluation for a neurocognitive review. And the May evaluation with a 4th medical provider

found no evidence of any concerns medically that would prevent Plaintiff from resuming the

practice of medicine.

        53.    It was extraordinarily humiliating, embarrassing, and distressful for Plaintiff to

spend approximately 5 days in an in-patient treatment facility for a state evaluation while being




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precluded from work and facing allegations about her licensure by Defendant Greenberg.

Plaintiff’s entry into the evaluation required her to be strip searched institution personnel to

ensure she was not trafficking narcotics. Additionally, as a direct, proximate and actual cause of

Defendants’ discriminatory and retaliatory referral of Plaintiff to the State for evaluation,

Plaintiff suffered severe side effects from medication transitions during her evaluation due to her

normal prescriptions (or any Scheduled Narcotics) being prohibited within the Caron

Foundation.

       54.     There was never any competent (non-discriminatory or non-retaliatory) evidence

of impairment, as Defendants’ own Legal Counsel on behalf of Defendants’ entire organization

confirmed in writing on April 8, 2019:

               I plan to prepare correspondence to the state board or investigator
               noting that Geisinger was not a party to the complaint against
               [Plaintiff] and Geisinger does not endorse the complaint or its
               allegations. [Plaintiff] has served as a physician with Geisinger
               since 2006 and during that period Geisinger Clinic [has] not
               identified any evidence of substance abuse or impairment.

               See Written Admission of Defendant’s Counsel, attached hereto as
               “Exhibit C.”

       55.     The referral, which turned out to be transparently baseless, was also made despite

that by late 2018 (shortly before the referral), Plaintiff was recognized by Defendants’ executive

management team for “being among the best in the country” for overall “patient’s experience.”

And Plaintiff was informed she was “placed in the top ten percent in the county” as to patient

improvement of experience for Defendants.

       56.     Despite the months of agony Plaintiff encountered with a malicious referral by

Defendants’ own high level management, Defendants never properly intervened, never

performed an adequate investigation, never sought to subject Plaintiff to any internal or external




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exam to vindicate her, refused to pay for Plaintiff’s expenses associated with undergoing state-

mandated exams, permitted Defendant Greenberg free reign, and did not correspond with the

State of Pennsylvania until after Plaintiff was undergoing evaluations.

        57.     The outright torture Plaintiff was required to undergo at the behest of a

managerial agent(s) of Defendants for the false, discriminatory and retaliatory referral did not

cease on May 17, 2019 as Plaintiff initially anticipated.

        58.     Plaintiff learned on May 21, 2019 that she was being investigated by the

Commonwealth of Pennsylvania Office of Attorney General, which was a separate department

that evaluates complaints or physician referrals. Plaintiff was required to correspond with, spend

additional legal fees, and meet with an investigator as part of the related investigation of the

referral.

        59.     It was not until July 17, 2019 that Plaintiff was informed in writing by the

Commonwealth of Pennsylvania Office of General Counsel that the agency “has completed its

inquiry into the above referenced complaint alleging that [Plaintiff] is unable to practice

medicine and surgery with reasonable skill and safety due to addiction to drugs or alcohol.” The

letter officially informed Plaintiff that the State was not proceeding with any action,

admonishment or discipline of Plaintiff based upon a review of all information.

        60.     Plaintiff however dealt with allegations caused by Defendants and its agents for

approximately 6 months that could have resulted in discipline, suspension, or loss of license.

Such conduct is outrageous, shocks the conscience, and greatly worried Plaintiff as it would any

reasonable physician. If ever there were a case warranting a substantial punitive verdict against

corporate entities, it is this case herein.




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                          [6] Plaintiff seeks relief in this lawsuit for Defendants’ discriminatory
                              and retaliatory suspension from employment starting on or about
                              July 3, 2019.

        61.      Plaintiff was suspended on or about July 3, 2019. This was in very close temporal

proximity to her:

                 (A) Filing her 2nd EEOC Charge;

                 (B) Continued and ongoing hostile work environment;

                 (C) Making verbal complaints of retaliation and discrimination to Defendants’
                     management and/or human resources personnel; and

                 (D) Her return from a medical leave associated with complications arising out of
                     her aforesaid unlawful referral to the Commonwealth of Pennsylvania.

        62.      On or about July 3, 2019, Plaintiff was suspended for leaving work approximately

2 hours before the end of her scheduled shift on July 2, 2019.

        63.      On July 2, 2019, Plaintiff had been ill, sought to use FMLA, and she informed

staff and her Operations Manager that she was leaving a little early due to not feeling well.

Plaintiff in fact registered her approximate 2-hour early departure from work with Defendants’

administrator as FMLA intermittent usage (federally protected time).5

        64.      Plaintiff was suspended from July 3, 2019 through July 23, 2019 when she was

informed of her termination from employment.

        65.      However, before addressing Plaintiff’s termination from employment infra,

Plaintiff explains herein that her suspension was unlawful. Specifically:

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  It is well established that FMLA leave is permitted for whole days, partial days or medical-related breaks under
the FMLA. See e.g. Mora v. Chem-Tronics, Inc., 16 F. Supp. 2d 1192 (S.D. Cal. 1998)(Employees may take leave in
any size increments and employers may account for the leave in the shortest period of time the payroll system uses
to calculate absences). See also Sabbrese v. Lowe's Home Centers, Inc., 320 F. Supp. 2d 311 (W.D. Pa. 2004)
(explaining that an employer is prohibited from counting medically necessary breaks against an employee under the
FMLA) (emphasis added); Collins v. U.S. Playing Card Co., 466 F. Supp. 2d 954 (S.D. Ohio 2006) (same).




                                                       18
               (A) Plaintiff was suspended on July 3, 2019 in such haste that there was no
                   meaningful inquiry to take such a drastic action against a near 13.5-year
                   physician; and to state otherwise, would be ridiculous;

               (B) It was obvious and readily attainable information that Plaintiff informed
                   Defendants’ Operations Manager she needed to leave a few hours early,
                   among other staff;

               (C) Other physicians had significant flexibility in breaks, departures or time off
                   from work, such that the scrutiny of Plaintiff was absurd; and

               (D) Defendants own termination letter issued on July 23, 2019 conceded in the
                   very termination letter itself Plaintiff did nothing wrong by leaving on July
                   2, 2019, that it was federally-protected FMLA time usage, and any action
                   against Plaintiff in termination had nothing to do with her leaving on July 2,
                   2019.

       66.     Thus, Plaintiff was on suspension for nearly 20 days until Defendants devised a

totally different reason to justify Plaintiff’s termination (outlined below). Any reasonable (non-

discriminatory) employer could and would have determined that Plaintiff’s suspension for using

FMLA time was improper within than 1 business day (and would not have suspended in the first

instance). Thus, Defendants suspended and kept Plaintiff on suspension for unlawful reasons.

                      [7] Plaintiff seeks relief in this lawsuit for Defendants’ discriminatory
                          and retaliatory termination of her on July 23, 2019.

       67.     Plaintiff suspension effective July 3, 2019 was converted to a termination

effective July 23, 2019.

       68.     On or about July 6, 2019, Plaintiff had written a 4-page, very polite and succinct

letter to Defendants’ President and CEO outlining very professionally what she had been

experiencing, explaining she was just suspended for use of FMLA, and she was concerned

Defendants were hunting for any made-up rationale to terminate her. She pleaded with executive

management of Defendants to intervene. Part of her letter read as follows:

               I planned to retire here, as I relocated with my entire family. Now I
               am suspended, and it is probably a matter of time before I am



                                               19
               terminated either for using FMLA this time or for some absurd
               rationale in the near future. No management or human resources
               personnel have been able to intervene. You are, as I said, my last
               resort – literally. Are you going to ignore this letter or respond like
               others that legal is handling this? Nobody addressed my concerns,
               so I made legal claims. Now that I have made legal claims, nobody
               addresses my work problems because I made legal claims. Absent
               you stepping in, Dr. Mahadevan will continue discriminating or
               retaliating against me, the department will continue to be run in
               shambles by him, and some excuse will made for my termination.
               Dr. Mahadevan has basically been running the department into the
               ground, not caring about rules, policies or laws, and especially not
               caring about the people that work under him. I am asking for your
               help because what I have been through has been emotionally
               traumatizing but not totally beyond repair.

       69.     Plaintiff’s July 6, 2019 correspondence was acknowledged, and she was informed

by corporate human resources that her concerns were with legal. Not a single member of

executive management properly reviewed anything Plaintiff complained about or sought to

intervene. And of course, a made-up rationale was ultimately given for Plaintiff’s termination

weeks later (totally unrelated to the reason for her initial suspension rationale).

       70.     Plaintiff was terminated on July 23, 2019 purportedly for a notation she made in a

patient’s chart. And Plaintiff’s termination was:

               (A) For something she had never been accused of or counseled for in over 13
                   years with Defendants;

               (B) For something she had never been given progressive discipline;

               (C) For medical internal documentation, not billing or other third-party data;

               (D) For doing nothing wrong, as she and other physicians noted anticipated
                   patient visits in the same or similar manner in the past (and errors were
                   attributable to internal coordination mistakes);

               (E) For at most what could be considered a documentation error (not an
                   exaggerated basis for termination);




                                                20
               (F) For something Defendants chose to label as “Fraud” just to elevate the
                   seriousness of the issue and to give some credence to an otherwise obvious
                   illegal termination; and

               (G) Despite that Defendants’ physicians and/or nursing personnel committed
                   malpractice, serious mistakes, or other actions that did not result in their
                   terminations.

        71.    As is easily discerned, Defendants were going to find any reason to terminate

Plaintiff, raced to suspend her for using federally-protected leave time (FMLA), did not reinstate

her when it was obvious her suspension was unlawful, admitted in her termination letter there

was no basis for the suspension, and kept her out of work excessively while trying to look

through her patient records for a different reason to justify termination.

        72.    Plaintiff was terminated from Defendants for discriminatory and retaliatory

reasons, including but not limited to the purpose of preventing her from taking continued FMLA

leave in the future, and for and every individual act – or those viewed in the aggregate – Plaintiff

believes that she is entitled to all legal and equitable damages, including punitive damages for

Defendants’ malice and its entire organizations’ reckless indifference to her plight.

                                     First Cause of Action
         Violations of the Americans with Disabilities Act, as Amended ("ADAAA")
         ([1] Actual/Perceived/Record of Disability Discrimination; [2] Retaliation;
                [3] Failure to Accommodate; [4] Hostile Work Environment)
                         - Against Defendants Center and GHS Only -

        73.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        74.    Plaintiff asserts that numerous discriminatory and retaliatory actions were taken

against her in violation of the Americans with Disabilities Act (“ADA”).

        75.    Defendants discriminated against Plaintiff because of her actual, known and/or

perceived health problems (as well as regarded-health problems). Defendants also retaliated




                                                 21
against Plaintiff for engaging in protected activities which include her requested

accommodations, medical leave, and complaints of discriminatory or retaliatory treatment.

        76.      The actions by Defendants for which Plaintiff seeks relief for under the ADA are:

                 (1) Her non-hire for the Director-level position in mid-2018;6

                 (2) The hostile work environment and all terms and conditions denied to her
                     disparately from in or about May of 2018 through termination;

                 (3) Defendants failure to provide medical accommodations or to engage in an
                     interactive dialogue with her from in or about may of 2018 through
                     termination;

                 (4) All adverse actions and/or consequences arising out of Plaintiff’s referral to
                     the State for alleged medical impairments making her unable to perform her
                     job, including but not limited to financial loss, damage to her reputation, time
                     off from work, costs / fees incurred, and other harm;

                 (5) Discipline, counseling or performance-related documentation she received
                     which was retaliatory and/or discriminatory by Defendants;

                 (6) Any time in which she was involuntarily caused to be out of work, including
                     but not limited to her suspension;

                 (7) Termination from employment; and

                 (8) Any other inaction or actions causing harm to Plaintiff which are actionable
                     under the ADA, and which: (a) can be reasonably inferred from the
                     allegations in this lawsuit; and (b) are within the statute of limitations for
                     Plaintiff’s administrative or court filings.

        77.      These actions as aforesaid constitute violations of the ADA, as amended.

                                       Second Cause of Action
                   Violations of the Family and Medical Leave Act ("FMLA")
                                   (Interference and Retaliation)
                                     - Against All Defendants -

        78.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

6
 Plaintiff does not seek relief under the ADA for her removal from the Director role in or about January of 2018,
but she does seek relief for this adverse action under other legal claims asserted in this Complaint.



                                                       22
        79.      Plaintiff was an eligible employee under the definitional terms of the FMLA, 29

U.S.C. § 2611(a)(i)(ii).

        80.      Plaintiff requested leave from Defendants, her employers, with whom she had

been employed for at least twelve months pursuant to the requirements of 29 U.S.C.A §

2611(2)(i).

        81.      Plaintiff had at least 1,250 hours of service with the Defendants during her last

full year of employment.

        82.      Defendants are engaged in an industry affecting commerce and employs fifty (50)

or more employees for each working day during each of the twenty (20) or more calendar work

weeks in the current or preceding calendar year, pursuant to 29 U.S.C.A § 2611(4)(A)(i).

        83.      Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(1) for a

total of twelve (12) work weeks of leave on a block, reduced schedule, or intermittent basis.

        84.      The actions by Defendants for which Plaintiff seeks relief for under the FMLA

are:

                 (A) Her removal from her Director-level job in or about early 2018 and non-hire
                     for the Director-level position in mid-2018;7

                 (B) The hostile work environment and all terms and conditions denied to her
                     disparately from in or about May of 2018 through termination;

                 (C) All adverse actions and/or consequences arising out of Plaintiff’s referral to
                     the State for alleged medical impairments making her unable to perform her
                     job, including but not limited to financial loss, damage to her reputation, time
                     off from work, costs / fees incurred, and other harm;

                 (D) Discipline, counseling or performance-related documentation she received
                     which was retaliatory and/or discriminatory by Defendants;



7
 Unlike her ADA claim, Plaintiff specifically seeks redress for her removal from her director-level job effective
early 2018.



                                                       23
                 (E) Any time in which she was involuntarily caused to be out of work, including
                     but not limited to her suspension;

                 (F) Termination from employment; and

                 (G) Any other inaction or actions causing harm to Plaintiff which are actionable
                     under the FMLA, and which: (a) can be reasonably inferred from the
                     allegations in this lawsuit; and (b) are within the statute of limitations for
                     Plaintiff’s court filings.

        85.      Defendants have carried out the above actions, at least in part, with the intention

of discouraging and/or preventing Plaintiff from taking and/or requesting leave under the FMLA.

In fact, Plaintiff was ultimately discouraged and/or prevented from freely taking and/or

requesting additional leave under the FMLA as a result of the actions aforesaid.

        86.      These actions as aforesaid constitute both interference and retaliation in violation

of the FMLA. And the individual Defendants herein are properly included under the FMLA

because they: (1) personally oversaw Plaintiff; (2) personally managed Plaintiff; (3) personally

took the foregoing actions towards Plaintiff; (4) perpetuated a hostile work environment; and (5)

point-blank discriminated against and retaliated against Plaintiff on an ongoing basis.8

                                    Third Cause of Action
          Violations of the Equal Pay Act & Title VII of the Civil Rights Act of 1964
                  (Wage Discrimination and Retaliation - Related to Gender)
                                  - Against All Defendants -

        87.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        88.      Plaintiff was not paid in the same manner as similarly situated male colleagues for

several years leading up to her termination from employment.



8
 It is well established that management employees of an employer are personally liable for violations of the FMLA.
See 29 C.F.R. § 825.104(d). see also Haybarger v. Lawrence County Adult Prob. & Parole, 667 F.3d 408 (3d Cir.
2012).



                                                       24
        89.     More specifically, both in her positions of associate and director in the oncology

department, there were numerous individuals who were paid more than her for performing the

same and/or substantially similar work associated with said positions, including but not limited

to Defendant Greenberg (performing essentially the same position Plaintiff performed, as

outlined above) and Dr. Robert Rostock (an associate in the oncology department, performing

the same or lesser duties than Plaintiff).

        90.     Despite Plaintiff being of at least equal in qualification, level of experience, and

education, male colleagues of Plaintiff were paid at higher levels of compensation. Defendants

exhibited a discriminatory level of compensation premised upon gender.

        91.     Plaintiff expressed concerns of gender-based pay disparities verbally on various

occasions. And she also expressed such concerns in writing by letter in June of 2018 to

Defendants and via an EEOC Charge in February of 2019.

        92.     Following these aforementioned complaints, Plaintiff experienced significant

harassment on persistent basis, leading to the aforementioned adverse actions by Defendants, as

outlined above.

        93.     Plaintiff seeks relief herein for disparately paid compensation based upon gender

under the Equal Pay Act (“EPA”) and Title VII of the Civil Rights Act of 1964 (“Title VII”).

Plaintiff only seeks such relief to the extent each respective statute of limitations permits under

applicable jurisprudence.

        94.     Plaintiff also seeks relief for unlawful retaliation for all actions taken against her

as alleged in this Complaint for her complaints of gender inequality and gender disparate pay, as

the hostility, retaliation, and overall mistreatment occurred following her complaints of such

illegalities.




                                                 25
           95.      Plaintiff’s claim under Title VII in this Count is only against Defendants Center

and GHS, as Title VII does not permit individual liability. However, Plaintiff’s claim for wage

discrimination under the EPA is against Defendants Center, GHS and Mahadevan, and for

retaliation under the EPA is against all Defendants, including Defendant Greenberg,9 as a result

of the harassment and adverse actions she faced following her numerous complaints of unequal

pay.10

                                          Fourth Cause of Action
                                     Negligent Supervision / Retention
                               - Against Defendants Center and GHS Only -

           96.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

           97.      Defendants Center and GHS failed to exercise ordinary care, repeatedly turned a

blind eye at concerns expressed by Plaintiff, shrugged their corporate shoulders of any

responsibility and claimed Plaintiff pursued legal relief as if absolved from supervising,

intervening or doing anything to remedy the work environment Plaintiff was enduring (by virtue

of legal claims pending).

           98.      Actions underlying this lawsuit all occurred on and within Defendant’s premises,

and Defendants were well aware of their obligations to manage, supervise and control their

employees (including supervisory staff) such as Defendants Mahadevan and Greenberg.

           99.      Plaintiff suffered tremendous abuse, workplace disparities, a costly and

emotionally distressful 6-month period of investigation by the State of Pennsylvania, false


9
    Plaintiff only proceeds against Defendant Greenberg under the EPA for retaliation and not for wage discrimination.
10
   See e.g. Burroughs v. MGC Servs., 2009 U.S. Dist. LEXIS 29700 (W.D. Pa. 2009)(admonishing a defendant for
filing a motion to dismiss individuals under the EPA explaining case law is “overwhelming” that an employee’s
supervisors can be sued for such violations).




                                                          26
discipline, suspension and termination. Under such circumstances, a Plaintiff is permitted to

proceed against her employer for negligent supervision. See Wasseff v. NIH, 2017 U.S. Dist.

LEXIS 17221 (E.D. Pa. 2017)(denying baseless motion to dismiss and explaining a plaintiff-

employee harassed by his management that is alleged to be unabated may pursue a claim for

negligent supervision against his employer).

                                      Fifth Cause of Action
                                           Defamation
                          - Against Defendants Center and GHS Only -

          100.   The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

          101.   Plaintiff has sought numerous employment opportunities following her

termination from employment with third-party businesses.

          102.   Plaintiff has specifically been denied affiliations, privileges and employment with

third-party businesses following her termination from employment because Defendants have

conveyed, disseminated, and communicated false and untrue information about and concerning

Plaintiff (for example, that she committed fraud while in the employ of Defendants).

          103.   Defendants have made false representations about and concerning Plaintiff as

aforesaid by and through high-level management, human resources personnel, and without

remedial guidance from Defendant’s executive management - - all with the intent to harm

Plaintiff further. This was done by the same personnel / management knowing of Plaintiff’s legal

claims.

          104.   Defendants actions were without privilege, made to third parties, not in the

context of Plaintiff’s employment, and caused Plaintiff specific injuries (loss of income, career,

job opportunities, and emotional distress).




                                                  27
          105.   Upon information and belief, Defendants will continue to make false statements

to third parties further limiting Plaintiff’s career mobility. This Count is therefore intended to

include all defamatory statements made by Defendants prior to the filing of this lawsuit and

those made during the pendency of this lawsuit.

                                      Sixth Cause of Action
                       Statutorily Prohibited Post-Employment Retaliation
                          - Against Defendants Center and GHS Only -

          106.   The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

          107.   Plaintiff has sought numerous employment opportunities following her

termination from employment with third-party businesses.

          108.   Plaintiff has specifically been denied affiliations, privileges and employment with

third-party businesses following her termination from employment because Defendants have

conveyed, disseminated, and communicated false and untrue information about and concerning

Plaintiff (for example, that she committed fraud while in the employ of Defendants).

          109.   Defendants have made false representations about and concerning Plaintiff as

aforesaid by and through high-level management, human resources personnel, and without

remedial guidance from Defendant’s executive management - - all with the intent to harm

Plaintiff further. This was done by the same personnel / management knowing of Plaintiff’s legal

claims.

          110.   Defendants actions were without privilege, made to third parties, not in the

context of Plaintiff’s employment, and caused Plaintiff specific injuries (loss of income, career,

job opportunities, and emotional distress).




                                                  28
        111.   Plaintiff timely filed a Charge with the Equal Employment Opportunity

Commission (“EEOC”), concerning post-employment retaliation. On November 8, 2018, counsel

for the Parties agreed in the interest of judicial economy, that Defendants hereby waive the

requirement of administrative exhaustion before the EEOC (and would not assert same as an

affirmative defense regarding this specific filing or claim).

        112.   Plaintiff asserts in this Count that she has been subjected to post-employment

retaliation by and through lost job opportunities specifically due to retaliatory references by

Defendants.

        113.   Reference-giving and false-information disseminating personnel and management

of Defendants expressly did so because of Plaintiff’s protected activities under the FMLA, ADA,

Title VII, and Equal Pay Act. It is well established that such employment statutes prohibit post-

employment retaliation concerning references. See e.g. Moreno-Nicholas v. City of Indianapolis,

2000 U.S. Dist. LEXIS 16668 (S.D. Ind. 2000)(retaliatory references as post-employment

retaliation are prohibited under employment statutes); Roe v. McKee Mgmt. Assocs., 2017 U.S.

Dist. LEXIS 23629 (E.D. Pa. 2017)(Title VII prohibits post-employment retaliation concerning

references); Charlton v. Paramus Bd. of Educ., 25 F.3d 194 (3d Cir. 1994)(post-employment

retaliation concerning references causing loss of job opportunities is prohibited under anti-

discrimination laws).

                                   Seventh Cause of Action
               Violations of the Pennsylvania Human Relations Act ("PHRA")
                                   -Against All Defendants-

        114.   The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




                                                 29
        115.     Plaintiff reasserts and re-alleges each and every allegation and claim as set forth

in counts one, three and six11, as such actions also constitute violations of the PHRA (as the

PHRA contains the same protections as the ADA and Title VII, and are interpreted identically

under Third Circuit jurisprudence.)

        116.     Defendant Greenberg is herein individually liable under count one and the cause

of action for retaliation under count three, and Defendant Mahadevan is individually liable under

counts one and three, because they aided, abetted and directly participated in the

discriminatory/retaliatory conduct that was directed at Plaintiff.

        117.     These actions as aforesaid constitute violations of the PHRA.

        WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

        A.       Defendants are to be prohibited from continuing to maintain their illegal policy,

practice or custom of discriminating/retaliating against employees and are to be ordered to

promulgate an effective policy against such unlawful acts and to adhere thereto, as well as cease

making further defamatory comments about or concerning Plaintiff;

        B.       Defendants are to compensate Plaintiff, reimburse Plaintiff and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to past lost earnings, future lost earnings,

salary, pay increases, bonuses, medical and other benefits, training, promotions, retirement,

pension, and seniority. Plaintiff should be accorded those benefits illegally withheld from the

date she first suffered retaliation/discrimination at the hands of Defendants until the date of

verdict;


11
  Plaintiff adds the instant claims under the PHRA as her first three EEOC/PHRC charges pertaining to Counts one
and three have been pending for at least one year. Defendants Center and GHS have agreed to waive administrative
exhaustion pertaining to Count 6, which do not apply to the remaining Defendants.



                                                      30
       C.      Plaintiff is to be awarded all available damages for her out-of-pocket costs,

financial losses, and fees associated with time off from work, suspension, and/or referrals to the

State for perceived impairment.

       D.      Plaintiff is to be awarded liquidated and punitive damages, as permitted by

applicable law(s) alleged asserted herein, in an amount believed by the Court or trier of fact to be

appropriate to punish Defendants for their willful, deliberate, malicious and outrageous conduct

and to deter Defendants or other employers from engaging in such misconduct in the future;

       E.      Plaintiff is to be accorded any and all other equitable and legal relief as the Court

deems just, proper and appropriate including for emotional distress;

       F.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

legal fees as provided by applicable federal and state law;

       G.      Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth in

applicable federal law; and

       H.      Plaintiff’s claims are to receive a trial by jury to the extent allowed by applicable

law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).




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                                Respectfully submitted,

                                KARPF, KARPF & CERUTTI, P.C.

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